                    1   Fennemore Craig, P.C.
                        Anthony W. Austin (No. 025351)
                    2   Justin R. DePaul (No. 031581)
                        2394 East Camelback Road, Suite 600
                    3   Phoenix, AZ 85016-3429
                        Telephone: (602) 916-5000
                    4   Email: aaustin@fclaw.com

                    5   Attorneys for Debtor Tanga.com, LLC

                    6
                    7
                    8                         IN THE UNITED STATES BANKRUPTCY COURT
                    9                                  FOR THE DISTRICT OF ARIZONA
                  10    In re                                           Case No. 2:18-bk-06314-BMW
                  11    TANGA.COM, LLC,                                 Chapter 11
                  12                       Debtor.                      MOTION FOR INTERIM AND FINAL
                                                                        ORDERS (I) AUTHORIZING DEBTOR TO
                  13                                                    OBTAIN POST-PETITION SECURED
                                                                        FINANCING AND (II) GRANTING
                  14                                                    SECURITY INTERESTS AND LIENS
                  15
                  16             Tanga.com, LLC, the debtor and debtor in possession (the “Debtor”) in the above-

                  17    captioned bankruptcy case (the “Case”), hereby submits this motion (the “Motion”) seeking entry

                  18    of interim and final orders, as applicable: (1) authorizing the Debtor to obtain a post-petition loan

                  19    totaling $100,000 (60% on an interim basis and 40% on a final basis) (the “DIP Loan”) from ZR

                  20    Ventures, LLC (collectively, with its successors and assigns, the “DIP Lender”); (2) granting

                  21    super-priority administrative status and a lien on substantially all of the Debtor’s assets to the DIP

                  22    Lender; and (3) granting certain related relief under sections 362, 363(c)(1), 364(c), 503(b),

                  23    507(b), 1107, and 1108 of title 11 of the United States Code (as amended, the “Code”), and Rules

                  24    2002, 4001(b), (c) and (d), 6004(h), and 9014 of the Federal Rules of Bankruptcy Procedure (the

                  25    “Rules”) and Local Rule 4001-2 of the Local Rules of Bankruptcy Practice and Procedure of the

                  26    United States Bankruptcy Court for the District of Arizona (the “Local Rules”).
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                    1            Such relief includes approval of the Secured Promissory Note and Security Agreement

                    2   (together, the “DIP Loan Documents”). The Debtor is not seeking priming liens (it has no pre-

                    3   petition secured lender) and is not granting any liens on Chapter 5 causes of action.

                    4            This Motion is supported by the following Memorandum of Points and Authorities, the

                    5   Declaration of Jeremy Young (the “Young Declaration”), the facts and law averred in this

                    6   Motion and the supporting Memorandum, and the entire record before the Court in the Case.

                    7                        MEMORANDUM OF POINTS AND AUTHORITIES

                    8                                           I. INTRODUCTION

                    9            By the Motion, the Debtor seeks entry of an interim order, substantially in the form

                  10    attached as Exhibit A hereto (the “Interim Order”): (a) authorizing the Debtor to incur post-

                  11    petition financing, including granting super-priority administrative expense status and a lien on

                  12    substantially all of the Debtor’s assets under §§ 364(c), 364(d), 503(b), 507(b), 1107, and 1108,

                  13    on an interim basis; (b) scheduling a final hearing (the “Final Hearing”) on the Motion to

                  14    consider entry of a final order (the “Final Order”) which authorizes the Debtor to incur post-

                  15    petition financing, including granting super-priority administrative expense status and a lien on

                  16    substantially all of the Debtor’s assets under §§ 364(c), 364(d), 503(b), 507(b), 1107, and 1108,

                  17    on an final basis; and (c) granting certain related relief.

                  18                                    II. JURISDICTION AND VENUE

                  19             The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is

                  20    a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this district pursuant to

                  21    28 U.S.C. §§ 1408 and 1409.

                  22             The bases for the relief requested herein are Code §§ 105, 361, 362, 363(c)(2), 364(c)(1),

                  23    364(c)(2), 364(c)(3), 364(d)(1), and 364(e); Rules 2002, 4001, and 9014; and Rule 4001-4 of the

                  24    Local Rules of Bankruptcy Procedure for the District of Arizona (the “Local Rules”).

                  25             No previous application for the relief sought herein has been made to this or any other

                  26    court.
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                    1                        III. SPECIAL NOTICES UNDER LOCAL RULE 4001-4

                    2            Even though this Motion has not been filed on the Petition Date with the other “First Day

                    3   Motions,” pursuant to Local Rule 4001-4(a), the Debtor provided an advance courtesy copy of

                    4   this Motion to the Office of the United States Trustee (the “U.S. Trustee”) in advance of filing the

                    5   Motion.

                    6            In accordance with the disclosure requirements of Rules 4001(b)-(d) and Local Rule

                    7   4001-4(b), the material terms of the DIP Loan Documents are summarized below.1

                    8       Provision                        Description
                    9       Borrower                         Tanga.com, LLC
                  10        DIP Lender                       ZR Ventures, LLC, a Delaware limited liability company.
                  11        DIP Loan                         A senior secured post-petition term loan of $100,000, of which
                                                             60% (or $60,000.00) will be funded upon entry of the Interim
                  12                                         Order; and the remaining 40% (or $40,000.00) will be funded
                                                             upon entry of a Final Order.
                  13
                            Interest-Only Payments           The Debtor will make interest-only payments of $1,000 to the
                  14                                         DIP Lender until the Maturity Date. 2
                  15        Maturity Date                    The term of the DIP Loan is seven (7) months and commences
                                                             upon entry of the Interim Order through the earliest to occur of
                  16                                         (a) seven (7) months from the date upon which the Interim
                                                             Order was entered, (b) an event of default as defined in the DIP
                  17                                         Loan Documents, (c) ten days after the occurrence of the
                                                             effective date of any Plan, (d) the Final Order is not entered
                  18                                         within thirty days after filing of the Motion unless otherwise
                                                             agreed in writing by the DIP Lender; or (e) ten days after the
                  19                                         closing date of the sale of substantially all of the Borrower’s
                                                             assets (the earliest to occur is the “Termination Date”).
                  20
                            Interest Rate                    In the absence of an Event of Default (described below and
                  21                                         defined in the Interim Order, a fixed rate of twelve percent
                                                             (12%) per annum; from and after the occurrence of an event of
                  22                                         default, a fixed rate of eighteen percent (18%) per annum.
                  23
                  24    1
                          The following informational summary is intended only for summary purposes and is qualified in its entirety by the
                        provisions of the DIP Loan Documents, attached as Exhibit 1 to the Interim Order. Capitalized terms not otherwise
                  25    defined in this Summary have the meaning ascribed to those terms in the DIP Loan Documents.
                        2
                          Capitalized terms not otherwise defined in this summary have the meanings ascribed to those terms in the DIP Loan
                  26    Documents.
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                    1
                          Provision                  Description
                    2
                          Fees                       The Debtor shall reimburse DIP Lender all of its reasonable and
                    3                                necessary fees and expenses, including, without limitation,
                                                     attorneys’ fees and expenses (“DIP Lender Expenses”). The
                    4                                DIP Lender Expenses shall be added to the principal amount of
                                                     the DIP Loan and paid in full at maturity.
                    5
                          Use of Cash Collateral/ Debtor is authorized to use the DIP Lender’s cash collateral, in
                    6     Budget                  accordance with the Budget, as attached to the DIP Loan
                                                  Documents, subject to a ten (10%) adversarial change. The
                    7                             Budget shall be updated on a monthly basis.
                    8     Super-priority Claims      Super-priority Claims. The DIP Obligations will constitute
                          and DIP Liens              allowed super-priority administrative claims under Code
                    9                                § 364(c)(1) against the Debtor with priority over all
                                                     administrative expenses, diminution claims, and all other claims
                  10                                 against the Debtor, including all administrative expenses
                                                     specified in §§ 503(b) and 507(b) and any claims arising under
                  11                                 Code §§ 105, 326, 328, 330, 331, 503(b), 507(a), 507(b),
                                                     546(c), 726, 1113, or 1114, payable from all the Debtor’s
                  12                                 prepetition and post-petition property and all proceeds thereof;
                                                     provided, however, that the super-priority claims are not
                  13                                 payable from the proceeds of avoidance actions under chapter 5
                                                     of the Bankruptcy Code.
                  14
                                                     DIP Liens. Pursuant to Code § 364(c)(2), as security for the
                  15                                 extension of the DIP Loan, effective and perfected on entry of
                                                     the Interim Order and without the execution or recordation of
                  16                                 any security agreement, pledge, financing statement, or other
                                                     similar document, though the same may be required by DIP
                  17                                 Lender, the Debtor grants a valid, binding, continuing,
                                                     enforceable, perfected first-priority lien on all of the Debtor’s
                  18                                 unencumbered property, except avoidance actions under chapter
                                                     5 of the Code, if any.
                  19
                          Sale of DIP Collateral     Debtor shall not sell, assign (by operation of law or otherwise)
                  20      and Credit Bid Rights      or otherwise dispose of any of the DIP Collateral (defined
                                                     below) without approval from the Bankruptcy Court, except in
                  21                                 the ordinary course of business pursuant to Rule 6004, in which
                                                     case such DIP Collateral shall be free and clear of the DIP
                  22                                 Lender’s security interest. In the event the Bankruptcy Court
                                                     approves a sale not in Debtor’s ordinary course of business, the
                  23                                 DIP Lender may credit bid for the then-balance of the DIP
                                                     Loan. Should the resulting sale price exceed the balance of the
                  24                                 DIP Loan, the DIP Collateral shall be sold free and clear of DIP
                                                     Lender’s security interest, with said security interest attaching
                  25                                 to the sale proceeds upon closing of the sale transaction.
                  26
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                    1
                          Provision                Description
                    2
                          Events of Default          The occurrence or existence of any one or more of the
                    3                                following events or conditions, whether voluntary or
                                                     involuntary, constitute an Event of Default:
                    4
                                                     (a) Debtor fails to pay when due (whether due at stated
                    5                                maturity, upon acceleration, or as otherwise provided herein)
                                                     any installment of principal, over advance, or interest on the
                    6                                DIP Loan, or otherwise owing under the DIP Loan
                                                     Documents;
                    7
                                                     (b) Debtor fails to pay any of its other obligations on the
                    8                                due date thereof (whether due at stated maturity, upon
                                                     acceleration, or as otherwise provided herein) and such failure
                    9                                shall continue for a period of ten days after DIP Lender’s
                                                     giving Debtor written notice thereof;
                  10
                                                     (c) Debtor fails to perform, keep, or observe any covenant
                  11                                 contained in any DIP Loan Documents and the breach is not
                                                     cured within ten days after Debtor’s receipt of notice of such
                  12                                 breach from DIP Lender;
                  13                                 (d) any representation or warranty made by or on behalf of
                                                     Debtor, or other information provided by or on behalf of
                  14                                 Debtor to DIP Lender, was incorrect or misleading in any
                                                     material respect at the time it was made or provided;
                  15
                                                     (e) any DIP Loan Document is terminated other than as
                  16                                 provided for in the DIP Loan Documents or becomes void or
                                                     unenforceable, or any security interest or lien ceases to be a
                  17                                 valid and perfected first-priority security interest in or lien on
                                                     any portion of the DIP Collateral;
                  18
                                                     (f) a trustee or examiner with expanded powers is
                  19                                 appointed in the Case and the order appointing such trustee,
                                                     responsible officer, or examiner shall not have been stayed,
                  20                                 reversed, or vacated within thirty days after the entry thereof;
                  21                                 (g) the dismissal of the Case, or the conversion of the Case
                                                     from one under chapter 11 to one under chapter 7 of the
                  22                                 Bankruptcy Code;
                  23                                 (k) the entry of an Order by the Bankruptcy Court granting
                                                     relief from or modifying the automatic stay of Code § 362(a)
                  24                                 with respect to any claim or property with a value exceeding
                                                     $50,000;
                  25
                                                     (l) an order is entered by the Bankruptcy Court approving a
                  26                                 sale of the Debtor or any DIP Collateral (other than the sale of
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                    1
                          Provision                     Description
                    2
                                                          Inventory in the ordinary course of business) on terms to
                    3                                     which DIP Lender has not given its prior written consent,
                                                          unless such motion provides for immediate repayment in cash
                    4                                     of all obligations and indebtedness under the DIP Loan
                                                          Documents; and/or
                    5
                                                          (m) without DIP Lender’s written consent, the Debtor’s
                    6                                     actual cumulative disbursements exceeds the projected
                                                          monthly disbursements in the Budget by more than 10% in
                    7                                     any month.
                    8
                                                     IV. PROCEDURAL BACKGROUND
                    9
                                 On June 1, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for relief
                  10
                        under chapter 11 of the Code. The Debtor continues to operate its businesses and manage its
                  11
                        assets as debtor in possession in accordance with Code §§ 1107 and 1108. No trustee, examiner,
                  12
                        or official committee of unsecured creditors has been appointed in the Case.
                  13
                                 The Court has jurisdiction over the Case under 28 U.S.C. §§ 157 and 1334. This is a core
                  14
                        proceeding under 28 U.S.C. § 157(b)(2). The Debtor’s principal assets are located in Phoenix,
                  15
                        Maricopa County, Arizona. Accordingly, venue is proper under 28 U.S.C. §§ 1408 and 1409 and
                  16
                        Local Rule 1071-1(c).
                  17
                                                                      V. FACTS
                  18
                  19
                  20             A.     Background Specific to the Motion
                  21             To correct the financial concerns that resulted in the Debtor seeking bankruptcy

                  22    protection, the Debtor instituted substantial cost saving measures, including workforce reductions

                  23    and vacating its leased facilities. The Debtor also began to address its vendor relationships. It

                  24    identified those vendors with which it generated a substantial margin on the sale of goods and

                  25    with whom it did a high volume of sales. By identifying these high-margin vendors, the Debtor

                  26    has been able to begin rebuilding its revenue base while utilizing fewer vendors. However, the
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                    1   process of bringing on new vendors that will work with the Debtor and can generate higher

                    2   margins will take time, and the Debtor needs funds to continue operating in the meantime. In

                    3   addition, as a result of the freeze placed on Debtor’s receivables by PayPal/Braintree, Debtor has

                    4   been deprived of nearly a week of cash flow and other monies. Accordingly, an infusion of cash

                    5   in the form of the DIP Loan is necessary to stabilize operations. Despite its diligent efforts, the

                    6   Debtor has been unable to obtain financing in the form of unsecured credit allowable under Code

                    7   § 503(b)(1) as an administrative expense or solely in exchange for the grant of a special

                    8   administrative expense priority pursuant to Code § 364(c)(1).         To prevent immediate and

                    9   irreparable harm, the Debtor can obtain financing in the amounts required only by the grant of

                  10    liens secured by a lien on property of the estate that is not otherwise subject to a lien under Code

                  11    § 364(c)(2), but the Debtor has been unable to procure such financing from any source other than

                  12    the DIP Lender.

                  13             The Debtor was formerly affiliated with the members of the DIP Lender, who are also

                  14    members of Discount Magazines, LLC (“DM”), a creditor of the bankruptcy estate and party to a

                  15    technical services agreement with the Debtor that is essential to the Debtor’s continued

                  16    operations. DM and the Debtor were formerly subsidiaries of EY Holdings, LLC. Although DM

                  17    is no longer a subsidiary of EY Holdings, LLC, DM continues to do business with the Debtor.

                  18             The DIP Lender is willing to provide the DIP Loan to the Debtor on the condition that, as

                  19    security for the prompt payment of the DIP Loan, including principal, interest, fees, costs,

                  20    expenses (including reasonable attorneys’ fees), and other charges at any time payable by Debtor

                  21    under the DIP Loan Documents (whether the foregoing are incurred by the Debtor through cash

                  22    advances or payment in-kind), the DIP Lender shall receive a first-position senior security interest

                  23    in and blanket lien on (the “DIP Lien”) all of Debtor’s property and assets (tangible, intangible,

                  24    real, personal, and mixed), whether in existence on or before the Petition Date or created,

                  25    acquired, or arising on or after the Petition Date and wherever located, including, without

                  26    limitation, accounts, cash, deposit accounts, inventory, equipment, investment property,
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                    1   instruments, chattel paper, real estate, leasehold interests, contracts, patents, copyrights,

                    2   trademarks, domain names, customer lists, software, source code, websites, and all other assets

                    3   related to or associated with e-commerce, causes of action, insurance, general intangibles, and all

                    4   products and proceeds (including insurance proceeds) thereof (all such tangible, intangible, real

                    5   and personal property, and the proceeds thereof, being collectively referred to hereinafter as the

                    6   “DIP Collateral”), excluding any avoidance actions under Chapter 5 of the Code and any

                    7   amounts that are recovered or otherwise received by the Debtor in respect of avoidance actions.

                    8   The DIP Lender shall also receive a super-priority administrative claim as set forth above.

                    9            The Debtor, working with its financial advisor, has developed a Budget, which is attached

                  10    to the Interim Order as Exhibit 2. The Debtor and the DIP Lender have agreed that the Debtor

                  11    may use the proceeds of the DIP Loan to fund its operations in accordance with the Budget. The

                  12    Debtor and its financial advisor, in consultation with and with the agreement of the DIP Lender,

                  13    will revise the Budget monthly and provide the DIP Lender with financial information as set forth

                  14    in the DIP Loan Documents.

                  15                                 VI. BASIS FOR RELIEF REQUESTED
                  16
                                 As set forth in detail above, the Debtor needs post-petition financing to sustain its
                  17
                        operations, and DIP Loan is the only financing available to the Debtor at this time. Thus, based
                  18
                        on the foregoing and for the reasons set forth below, the Debtor submits that it has satisfied the
                  19
                        requirements to access post-petition financing on a super-priority secured basis under Code § 364.
                  20
                                 A.     The Debtor Should Be Authorized to Obtain Post-petition Financing Under
                  21                    Code § 364.
                  22             Under Code § 364(c), a court may authorize a debtor to incur debt that is (a) entitled to a
                  23    super-priority administrative expense status; (b) secured by a lien on otherwise unencumbered
                  24    property; or (c) secured by a junior lien on encumbered property if the debtor cannot obtain post-
                  25    petition credit on an unsecured basis, on an administrative expense priority, or secured solely by
                  26
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                    1   junior liens on the debtor’s assets. 11 U.S.C. § 364(c); In re Barbara K. Enters, Inc., No. 08-

                    2   11474 (MG), 2008 WL 2439649, at *8 (Bankr. S.D.N.Y. June 16, 2008) (in order for a debtor to

                    3   obtain post-petition secured credit under Code § 364, the debtor must prove that it was unable to

                    4   reasonably obtain secure credit elsewhere); Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp., 266

                    5   B.R. 575, 584 (S.D.N.Y. 2001) (super-priority administrative expenses authorized where debtor

                    6   could not obtain credit as an administrative expense).

                    7            Courts consider whether the post-petition financing: (a) is necessary to preserve the assets

                    8   of the estate and is necessary, essential, and appropriate for continued operation of the debtor’s

                    9   business; (b) is in the best interests of the debtor’s creditors and estates; (c) is an exercise of the

                  10    debtor’s sound and reasonable business judgment; (d) was negotiated in good faith and at arm’s

                  11    length between the debtor, on the one hand, and the lender on the other; and (e) contains terms

                  12    that are fair, reasonable, and adequate, given the circumstances of the debtor and the proposed

                  13    post-petition lender. See In re Farmland Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo.

                  14    2003); In re Lyondell Chem. Co., No. 09-10023 (Bankr. S.D.N.Y. Feb. 27, 2009); In re Ames

                  15    Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990).

                  16             Here, the Debtor proposes to obtain the DIP Loan by providing the DIP Lender, among

                  17    other things, super-priority claims, security interests, and liens pursuant to Code §§ 364(c)(1)-(2)

                  18    and 364(d). The Debtor submits that entry into the DIP Loan Documents satisfies these factors.

                  19                    1.      The DIP Financing was negotiated in good faith, is in the best interests
                                                of the Debtor’s creditors and estate, is necessary to preserve estate
                  20                            assets, and is an exercise of the Debtor’s sound and reasonable
                                                business judgment.
                  21
                                 A debtor’s decision to enter into a post-petition lending facility under Code § 364 is
                  22
                        governed by the business judgment standard. See Barbara K. Enters., 2008 WL 2439649, at *14
                  23
                        (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer to a debtor’s business judgment);
                  24
                        Ames Dep’t Stores, 115 B.R. at 38 (noting that financing decisions under Code § 364 must reflect
                  25
                        a debtor’s business judgment).       Courts grant a debtor considerable deference in acting in
                  26
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                    1   accordance with its sound business judgment. See, e.g., Barbara K. Enters., 2008 WL 2439649,

                    2   at *14 (explaining that courts defer to a debtor’s business judgment “so long as a request for

                    3   financing does not ‘leverage the bankruptcy process’ and unfairly cede control of the

                    4   reorganization to one party in interest.”).

                    5            Specifically, to determine whether the business judgment standard is met, a court is

                    6   “required to examine whether a reasonable business person would make a similar decision under

                    7   similar circumstances.” In re Dura Auto. Sys., Inc., No. 06-11202 (KJC), 2007 Bankr. LEXIS

                    8   2764, at *272 (Bankr. D. Del. Aug. 15, 2007) (quoting In re Exide Techs., 340 B.R. 222, 239

                    9   (Bankr. D. Del. 2006)); In re Brooklyn Hosp. Ctr. and Caledonian Health Ctr., Inc., 341 B.R.

                  10    405, 410 (Bankr. E.D.N.Y. 2006) (the business judgment rule “is a presumption that in making a

                  11    business decision, the directors of a corporation acted on an informed basis, in good faith, and in

                  12    the honest belief that the action taken was in the best interests of the company”) quoting Official

                  13    Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147

                  14    B.R. 650, 656 (S.D.N.Y. 1992).

                  15             The Debtor’s decision to enter into the proposed DIP Loan Documents is well within the

                  16    exercise of its sound business judgment. Approval of the DIP Loan will provide the Debtor with

                  17    immediate access to cash to pay its current and ongoing post-petition operating expenses. Unless

                  18    the operating expenses are paid in the interim, the Debtor may be forced to cease operations,

                  19    which would likely (a) result in irreparable harm to its businesses, (b) diminish the Debtor’s

                  20    going concern value, and (c) jeopardize the Debtor’s ability to maximize the value of its estate to

                  21    the detriment of its creditors, members, and employees. With the DIP Loan, the Debtor will be

                  22    able to continue to satisfy its vendors, service its customers, pay its employees, and operate its

                  23    businesses in an orderly and reasonable manner to preserve and enhance the value of its estate for

                  24    the benefit of all parties in interest. Accordingly, the timely approval of the relief requested

                  25    herein is imperative.

                  26
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                    1            Prior to the Petition Date, the Debtor attempted to locate alternative financing to address

                    2   its liquidity needs. Notwithstanding its efforts, the Debtor has been unable to procure sufficient

                    3   financing in the form of unsecured credit allowable under Code § 503(b)(1) as an administrative

                    4   expense under Code § 364(a) or (b), absent an exchange for the grant of a super-priority

                    5   administrative expense claim pursuant to Code § 364(c)(1).

                    6            For these reasons, the Debtor submits that the DIP Loan Documents were negotiated in

                    7   good faith, and that entry into the DIP Loan Documents to obtain the DIP Loan is in the best

                    8   interests of the Debtor’s creditors, is necessary to preserve the value of estate assets, and is within

                    9   the exercise of the Debtor’s sound and reasonable business judgment.

                  10                    2.      The terms of the DIP Loan Documents are fair, reasonable, and
                                                appropriate in light of the Debtors’ needs and the current market
                  11                            environment.
                  12             It is well recognized that the appropriateness of a proposed post-petition financing facility

                  13    must be considered in light of current market conditions. In re Lyondell Chem. Co., Case No. 09-

                  14    10023 (Bankr. S.D.N.Y. Feb. 27, 2009); Bray v. Shenandoah Fed. Savs. & Loan Assoc. (In re

                  15    Snowshoe Co. Inc.), 789 F.2d 1085, 1088 (4th Cir. 1986) (noting that a debtor is not required to

                  16    seek credit from every possible lender before determining such credit is unavailable). Indeed,

                  17    courts often recognize that, where there are few lenders likely able and willing to extend the

                  18    necessary credit to a debtor, “it would be unrealistic and unnecessary to require [a debtor] to

                  19    conduct such an exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113

                  20    (Bankr. N.D. Ga. 1988), aff’d, 99 B.R. 117 (N.D. Ga. 1989). Rather, a debtor must demonstrate

                  21    that it made a reasonable effort to seek credit from other sources available under Code §§ 364(a)

                  22    and (b). See Snowshoe, 789 F.2d at 1088.

                  23             Though the current market for financing has improved in recent years, it is still strained in

                  24    certain distressed industries. In the e-commerce space, there is a limited market for financing,

                  25    including debtor-in-possession financing or otherwise, and provisions once considered

                  26    “extraordinary” in debtor in possession financing arrangements have, for the time being, become
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                    1   standard.     Fortunately, such “extraordinary” provisions are not present in the DIP Loan

                    2   Documents. For example, there are no financing fees or premiums in the DIP Loan Documents.

                    3   Accordingly, the Debtor believes that the DIP Loan terms are favorable, fair, and appropriate.

                    4            B.     The DIP Loan Documents Were Negotiated in Good Faith and the DIP
                                        Lender Should Be Afforded the Protection of Code § 364(e).
                    5
                                 Code § 364(e) protects a good faith lender’s right to collect on loans extended to a debtor
                    6
                        and its right in any lien securing those loans, even if the authority of the debtor to obtain such
                    7
                        loans or grant such liens is later reversed or modified on appeal. Specifically, Code § 364(e)
                    8
                        provides that any “reversal or modification on appeal of an authorization under this section to
                    9
                        obtain credit or incur debt, or of a grant under this section of a priority or a lien, does not affect
                  10
                        the validity of any debt so incurred, or any priority or lien so granted, to an entity that extended
                  11
                        such credit in good faith . . . .” 11 U.S.C. § 364(e).
                  12
                                 Courts generally hold that “good faith” in the context of post-petition financing means,
                  13
                        consistent with the Uniform Commercial Code, honesty in fact in the conduct or transaction
                  14
                        concerned. See Unsecured Creditors’ Comm. v. First Nat’l Bank & Trust Co. (In re Ellingsen
                  15
                        MacLean Oil Co.), 834 F.2d 599, 605 (6th Cir. 1987) (citing U.C.C. § 1-201(19)). Additionally,
                  16
                        good faith is measured with respect to the good faith of the lender as contrasted to that of the
                  17
                        borrower. In re Lyondell Chem. Co., No. 09-10023 (Bankr. S.D.N.Y. Feb. 27, 2009). Moreover,
                  18
                        a lender’s desire to ensure that it is repaid, to make money on interest and fees, and to protect
                  19
                        prepetition positions are understandable and acceptable motivations for a post-petition lender in
                  20
                        negotiating a deal. Id. at 737.
                  21
                                 The terms of the DIP Loan Documents were negotiated in good faith and at arm’s length
                  22
                        between the Debtor and the DIP Lender, and all of the DIP Loan obligations will be extended by
                  23
                        the DIP Lender in good faith (as such term is used in Code § 364(e)). No consideration is being
                  24
                        provided to any party to the obligations arising under the DIP Loan Documents, other than as set
                  25
                        forth herein. Moreover, the DIP Loan has been extended in express reliance upon the protections
                  26
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                    1   offered by Code § 364(e), and the DIP Lender should be entitled to the full protection of Code §

                    2   364(e) in the event that either of the orders granting the Motion (or any provision thereof) are

                    3   vacated, reversed, modified on appeal, or otherwise.

                    4            C.     Modification of the Automatic Stay Is Appropriate Under the Circumstances.
                    5            Paragraph __ of the Interim Order requires that the automatic stay imposed under Code
                    6   § 362 be modified as necessary to permit the Lender to (i) implement the DIP Loan, (ii) take any
                    7   act to create, validate, evidence, or perfect any lien granted or authorized under this Interim Order
                    8   (although nothing in the Interim Order requires any such act), and, among other things, (iii) to
                    9   charge, collect, advance, and receive payments under the DIP Loan.
                  10             Stay modification provisions of this sort are ordinary and usual features of debtor-in-
                  11    possession financing facilities and, in the Debtor’s business judgment, are reasonable under the
                  12    present circumstances.    See, e.g., In re Innkeepers USA Trust, Case No. 10-13800 (Bankr.
                  13    S.D.N.Y. Sept. 2, 2010). Accordingly, the Court should modify the automatic stay to the extent
                  14    contemplated by the Debtor and the Lender.
                  15
                                 D.     The Court Should Grant Interim Approval.
                  16
                                 Bankruptcy Rule 4001 permits a court to approve a debtor’s request for financing on an
                  17
                        interim basis following the filing of a motion requesting authorization to obtain financing, “only
                  18
                        . . . as is necessary to avoid immediate and irreparable harm to the estate pending a final hearing.”
                  19
                        Bankruptcy Rule 4001. In examining requests for interim relief under this rule, courts apply the
                  20
                        same business judgment standard applicable to other business decisions. See, e.g, Simasko, 47
                  21
                        B.R. at 449; see also Ames, 115 B.R. at 38.
                  22
                                 Pursuant to Bankruptcy Rules 4001(b) and (c), the Debtor requests that the Court conduct
                  23
                        an expedited preliminary hearing on this Motion and authorize the Debtor to borrow up to
                  24
                        $60,000, pending entry of the Final Order, at which time the Debtor is authorized to borrow the
                  25
                  26
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                    1   remaining balance of $40,000, to maintain and finance the ongoing operations of the Debtor and

                    2   to avoid immediate and irreparable harm to the Debtor’s estate and all parties in interest.

                    3            The Debtor has an urgent and immediate need for cash to continue to operate. As

                    4   discussed above, absent authorization from the Bankruptcy Court to obtain secured credit, as

                    5   requested, on an interim basis pending a final hearing on the Motion, the Debtor will be

                    6   immediately and irreparably harmed.       The availability of interim loan under the DIP Loan

                    7   Documents will provide necessary assurance to the Debtor’s vendors, employees, and customers

                    8   of its ability to meet its near-term obligations. Failure to meet these obligations and to provide

                    9   these assurances likely would have a significant negative impact on the value of the business, to

                  10    the detriment of all parties-in-interest. Accordingly, the interim relief requested is critical to

                  11    preserving and maintaining the going-concern value of the Debtor until entry of a final order on

                  12    this Motion.

                  13             E.     Request for Final Hearing
                  14             Inasmuch as this Motion seeks interim and final relief in connection with the proposed
                  15    DIP Financing, the Debtor further requests that the Court schedule the Final Hearing to consider
                  16    entry of the Final Order that authorizes the Debtor to incur post-petition financing, including
                  17    granting super-priority administrative expense status and a lien on substantially all of the Debtor’s
                  18    assets under §§ 364(c), 364(d), 503(b), 507(b), 1107, and 1108, on an final basis.
                  19                          VII. WAIVER OF BANKRUPTCY RULE 6004(h)
                  20             The Debtor further seeks a waiver of any stay of the effectiveness of the Interim Order
                  21    and Final Order approving the Motion. Bankruptcy Rule 6004(h) provides that “[a]n order
                  22    authorizing the use, sale, or lease of property other than cash collateral is stayed until the
                  23    expiration of 14 days after entry of the order, unless the court orders otherwise.” As set forth
                  24    above, the DIP Financing is essential to prevent irreparable damage to the Debtor’s business,
                  25    value of its estate, and ability to conduct an orderly sale process. Accordingly, the Debtor
                  26
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                    1   submits that ample cause exists to justify a waiver of the fourteen (14) day stay imposed by

                    2   Bankruptcy Rule 6004(h), to the extent that it applies.

                    3                                 VIII. RESERVATION OF RIGHTS

                    4            Nothing contained herein is intended or should be construed as an admission as to the

                    5   validity of any claim against the Debtor, a waiver of the Debtor’s rights to dispute any claim, or

                    6   an approval or assumption of any agreement, contract, or lease under Code § 365. In addition, the

                    7   Debtor reserves the right to seek additional relief from this Court as relates to any of the relief

                    8   requested pursuant to the Motion.

                    9                                          IX. CONCLUSION

                  10             WHEREFORE, the Debtor respectfully requests that the Court enter an order

                  11    substantially in the form attached as Exhibit A (a) authorizing the Debtor to incur post-petition

                  12    financing in the amount of $100,000 in accordance with the DIP Loan Documents, including

                  13    granting super-priority administrative expense status and a first-position security interest in and

                  14    lien on substantially all of the Debtor’s assets, on an interim basis ($60,000 to be paid upon entry

                  15    of the Interim Order); (b) scheduling the Final Hearing on the Motion to consider entry of the

                  16    Final Order ($40,000 to be paid to the Debtor upon entry of the Final Order); and (c) granting

                  17    such other and further relief as the Court may deem appropriate.

                  18             DATED this 14th day of June, 2018.

                  19                                                      FENNEMORE CRAIG, P.C.
                  20
                                                                          By /s/ Anthony W. Austin
                  21                                                         Anthony W. Austin
                                                                             Justin R. DePaul
                  22                                                         Attorneys for Debtor Tanga.com, LLC

                  23
                  24
                  25
                  26
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             EXHIBIT
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                    1
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                    7
                    8                       IN THE UNITED STATES BANKRUPTCY COURT
                    9                                 FOR THE DISTRICT OF ARIZONA
                  10    In re                                             Case No. 2:18-bk-06314-BMW
                  11    TANGA.COM, LLC,                                   Chapter 11
                  12                       Debtor.                        INTERIM ORDER GRANTING
                                                                          MOTION FOR INTERIM AND FINAL
                  13                                                      ORDERS AUTHORIZING POST-
                                                                          PETITION SECURED FINANCING
                  14
                  15
                  16            Upon the motion (DE#__) (the “Motion”) by the debtor and debtor-in-possession (the

                  17    “Debtor”) in the above-captioned bankruptcy case (“Case”), seeking entry of interim and final

                  18    orders (1) authorizing the Debtor to obtain a post-petition loan totaling $100,000 (60% on an

                  19    interim basis and 40% on a final basis) (the “DIP Loan”) from ZR Ventures, LLC (collectively,

                  20    with its successors and assigns, the “DIP Lender”); (2) granting super-priority administrative

                  21    status and a first-position security interest in and lien on substantially all of the Debtor’s assets to

                  22    the DIP Lender; and (3) granting certain related relief under sections 362, 363(c)(1), 364(c),

                  23    503(b), 507(b), 1107, and 1108 of title 11 of the United States Code (as amended, the “Code”),

                  24    and Rules 2002, 4001(b), (c) and (d), 6004(h), and 9014 of the Federal Rules of Bankruptcy

                  25    Procedure (the “Rules”) and Local Rule 4001-2 of the Local Rules of Bankruptcy Practice and

                  26    Procedure of the United States Bankruptcy Court for the District of Arizona (the “Local Rules”),
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                    1   and upon the Court’s consideration of the pleadings, the evidence presented and representations

                    2   made at the interim hearing held by the Court with regard to the relief requested in the Motion,

                    3   the statements of counsel, and after review of the Secured Promissory Note and Security

                    4   Agreement (together, the “DIP Loan Documents”), attached as Exhibit 1 hereto, and the

                    5   Declaration of Jeremy Young (the “Young Declaration”), the Court hereby makes the following

                    6   findings of fact and conclusions of law:

                    7           1.     This Court has jurisdiction to entertain the Motion pursuant to 28 U.S.C. §§ 157

                    8   and 1334.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                    9   Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).            The

                  10    statutory predicates for the relief requested herein are Code §§ 105, 362, 363, and 364 and Rules

                  11    4001(c) and 9014.

                  12            2.     On June 1, 2018 (“Petition Date”), the Debtor filed a voluntary petition for relief

                  13    under Chapter 11 of the Bankruptcy Code. The Debtor is managing its properties and operating

                  14    its businesses as a debtor-in-possession pursuant to Code §§ 1107 and 1108. No trustee or

                  15    examiner has been appointed in this bankruptcy case, and an official committee of unsecured

                  16    creditors has not been appointed at this time.

                  17            3.     The Debtor has an immediate and ongoing need to obtain financing of the type

                  18    requested in the Motion to satisfy its current and ongoing post-petition operating expenses.

                  19            4.     Authority to obtain financing from the DIP Lender is necessary for the Debtor to

                  20    continue the operation of its business as a debtor-in-possession and to preserve the going-concern

                  21    value of its assets. Unless the operating expenses are paid in the interim, the Debtor may be

                  22    forced to cease operations, which would likely (a) result in irreparable harm to its businesses, (b)

                  23    diminish the Debtor’s going concern value, and (c) jeopardize the Debtor’s ability to maximize

                  24    the value of its estate to the detriment of its creditors, members, and employees. With the DIP

                  25    Loan, the Debtor will be able to continue to satisfy its vendors, service its customers, pay its

                  26
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                    1   employees, and operate its businesses in an orderly and reasonable manner to preserve and

                    2   enhance the value of its estate for the benefit of all parties in interest.

                    3             5.       The Debtor will suffer immediate and irreparable harm unless it is immediately

                    4   authorized to obtain DIP Financing in the amount and on the terms and conditions set forth in this

                    5   Interim Order and in the DIP Loan Documents. Despite diligent efforts, the Debtor has been

                    6   unable to obtain financing in the form of unsecured credit allowable under Code § 503(b)(1) as an

                    7   administrative expense or solely in exchange for the grant of a super-priority administrative

                    8   expense basis pursuant to Code § 364(c)(1).

                    9             6.       Subject to the terms and conditions set forth in this Interim Order, the DIP Lender

                  10    is willing to extend to the Debtor on an interim basis up to $100,000, $60,000 upon entry of this

                  11    Interim Order and the remaining $40,000 upon entry of a Final Order.

                  12              7.       The DIP Lender is willing to provide post-petition financing to the Debtor to

                  13    provide working capital to the Debtor during the Chapter 11 Case. A condition to the willingness

                  14    of the DIP Lender to fund the DIP Loan is that, as security for the prompt payment and

                  15    performance of the DIP Loan and all interest, fees, expenses, and charges at any time payable by

                  16    the Debtor under this Interim Order and the DIP Loan Documents, the Court grant the DIP

                  17    Lender the protections set forth in the DIP Loan Documents, including, without limitation1—

                  18                   a. Senior security interests and a perfected first-position lien in all of the Debtor’s

                  19                       presently-owned and after-acquired assets pursuant to Code §§ 364(d) and (c),

                  20                       including a first-position senior security interest in and lien on (the “DIP Lien”)

                  21                       all of the Debtor’s property and assets (tangible, intangible, real, personal, and

                  22                       mixed), whether in existence on or before the Petition Date or created, acquired, or

                  23                       arising on or after the Petition Date and wherever located, including, without

                  24                       limitation, accounts, cash, deposit accounts, inventory, equipment, investment

                  25                       property, instruments, chattel paper, real estate, leasehold interests, contracts,
                        1
                  26        To the extent of any conflict, the terms of the Interim Order will control.
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                    1                    patents, copyrights, trademarks, domain names, customer lists, software, source

                    2                    code, websites, and all other assets related to or associated with e-commerce,

                    3                    causes of action, insurance, general intangibles, and all products and proceeds

                    4                    (including insurance proceeds) thereof (all such tangible, intangible, real and

                    5                    personal property, and the proceeds thereof, being collectively referred to

                    6                    hereinafter as the “DIP Collateral”);

                    7                 b. An allowed super-priority administrative claim with respect to the DIP Loan over

                    8                    any and all administrative expenses of the kinds specified in Code §§ 503(b) and

                    9                    507(b) under Code § 364(c)(1).

                  10            8.       The Court finds that notice of the Motion, as it relates to the entry of this Interim

                  11    Order, is sufficient, and that no further notice is necessary.

                  12            9.       The Debtor has shown good cause for the entry of this Interim Order and

                  13    authorization for the Debtor to execute the DIP Loan Documents and any related documents and

                  14    to obtain initial $60,000 of the DIP Loan pending a final hearing on the relief requested in the

                  15    Motion and entry of a final order granting or denying the relief requested in the Motion. The

                  16    Debtor’s need for financing of the type afforded by this Interim Order and the DIP Loan

                  17    Documents is immediate and critical. Entry of this Interim Order will minimize disruption of the

                  18    Debtor’s business and operations as a going concern and is in the best interests of the Debtor, its

                  19    creditors, and the bankruptcy estate. The terms of the DIP Loan Documents authorized hereby

                  20    are fair and reasonable, reflect the Debtor’s reasonable exercise of prudent business judgment,

                  21    and are supported by reasonably equivalent value and fair consideration.

                  22            10.      Based upon the Motion, the DIP Loan Documents, and the record presented at the

                  23    interim hearing, the Court finds that the DIP Loan Documents and the DIP Loan to be evidenced

                  24    thereby have been negotiated in good faith and at arm’s length between the Debtor and the DIP

                  25    Lender, and the DIP Loan shall be deemed to have been made in good faith within the meaning of

                  26    Code § 364(e).
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                    1           THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

                    2           A.      The Court’s findings of fact and conclusions of law made herein are incorporated

                    3   in this Interim Order and constitute the Court’s findings of fact and conclusions of law pursuant

                    4   to Rule 7052.

                    5           B.      Due, proper, timely, adequate, and sufficient notice of the Motion and the

                    6   transactions contemplated thereby has been provided to all parties entitled thereto and such notice

                    7   was good, sufficient, and appropriate under the circumstances, and no other or further notice of

                    8   the Motion or the transactions contemplated thereby is or shall be required.

                    9           C.      Subject to the terms and conditions of this Interim Order, the Debtor shall be, and

                  10    hereby is, authorized (a) to execute the DIP Loan Documents, which are approved hereby in all

                  11    respects, in substantially similar form attached as Exhibit 1 hereto, and all other related

                  12    documents requested by the DIP Lender to give effect to the terms thereof and hereof, (b) to

                  13    receive the $60,000 advance from the DIP Lender under this Interim Order, to be used only in

                  14    accordance with the Budget attached as Exhibit 2 hereto (the “Budget”) and as provided in the

                  15    DIP Loan Documents.

                  16            D.      Pending a final hearing on the relief requested in the Motion and entry of a Final

                  17    Order granting or denying the relief requested in the Motion, the Debtor is further authorized to

                  18    satisfy all conditions precedent and perform all obligations hereunder and thereunder in

                  19    accordance with the terms hereof and thereof.

                  20            E.      Notwithstanding anything to the contrary in this Interim Order, in no event shall

                  21    the DIP Lender be obligated to make any advances comprising the DIP Loan if at the time of a

                  22    requested advance an Event of Default (as defined below) has occurred or a default under this

                  23    Interim Order exists. Proceeds of the DIP Loan may be used to pay items identified on the

                  24    Budget as agreed between the Debtor and the DIP Lender. The DIP Lender shall not have any

                  25    obligation or responsibility to monitor the Debtor’s use of proceeds of the DIP Loan and may, but

                  26    is not required to, rely on the Debtor’s representations that the amount of any advances requested
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                    1   by the Debtor, and the use thereof, are in accordance with the requirements of this Interim Order,

                    2   the DIP Loan Documents, and the Budget.

                    3           F.      To secure the prompt payment and performance of the Obligations, the DIP

                    4   Lender shall have, and is hereby granted, effective on and after the Petition Date:

                    5                a. Senior security interests and a perfected first-position lien in all of the Debtor’s

                    6                   presently-owned and after-acquired assets and Collateral pursuant to Code §§

                    7                   364(d) and (c) (“DIP Lien”);

                    8                b. An allowed super-priority administrative claim with respect to the DIP Financing

                    9                   over any and all administrative expenses of the kinds specified in Code §§ 503(b)

                  10                    and 507(b) under Code § 364(c)(1).

                  11            G.      Notwithstanding anything to the contrary in the DIP Loan Documents, the DIP

                  12    Liens shall not attach to: (a) any causes of action pursuant to Code §§ 544, 545, 547, 548, 550, or

                  13    553 (the “Avoidance Actions”) and (b) any monies recovered in connection with the successful

                  14    prosecution or settlement of Avoidance Actions.

                  15            H.      The occurrence or existence of any one or more of the following events or

                  16    conditions, whether voluntary or involuntary, constitute an Event of Default:

                  17                 a. Debtor fails to pay when due (whether due at stated maturity, upon acceleration, or

                  18                    as otherwise provided herein) any installment of principal, over advance, or

                  19                    interest on the DIP Loan, or otherwise owing under the DIP Loan Documents;

                  20                 b. Debtor fails to pay any of its other obligations on the due date thereof (whether

                  21                    due at stated maturity, upon acceleration, or as otherwise provided herein) and

                  22                    such failure shall continue for a period of ten days after DIP Lender’s giving

                  23                    Debtor written notice thereof;

                  24                 c. Debtor fails to perform, keep, or observe any covenant contained in any DIP Loan

                  25                    Documents and the breach is not cured within ten days after Debtor’s receipt of

                  26                    notice of such breach from DIP Lender;
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                    1                d. any representation or warranty made by or on behalf of Debtor, or other

                    2                   information provided by or on behalf of Debtor to DIP Lender, was incorrect or

                    3                   misleading in any material respect at the time it was made or provided;

                    4                e. any DIP Loan Document is terminated other than as provided for in the DIP Loan

                    5                   Documents or becomes void or unenforceable, or any security interest or lien

                    6                   ceases to be a valid and perfected first-priority security interest in or lien on any

                    7                   portion of the DIP Collateral;

                    8                f. a trustee or examiner with expanded powers is appointed in the Case and the order

                    9                   appointing such trustee, responsible officer, or examiner shall not have been

                  10                    stayed, reversed, or vacated within thirty days after the entry thereof;

                  11                 g. the dismissal of the Case, or the conversion of the Case from one under chapter 11

                  12                    to one under chapter 7 of the Bankruptcy Code;

                  13                 h. the entry of an Order by the Bankruptcy Court granting relief from or modifying

                  14                    the automatic stay of Code § 362(a) with respect to any claim or property with a

                  15                    value exceeding $50,000;

                  16                 i. an order is entered by the Bankruptcy Court approving a sale of the Debtor or any

                  17                    DIP Collateral (other than the sale of Inventory in the ordinary course of business)

                  18                    on terms to which DIP Lender has not given its prior written consent, unless such

                  19                    motion provides for immediate repayment in cash of all obligations and

                  20                    indebtedness under the DIP Loan Documents; and/or

                  21                 j. without DIP Lender’s written consent, the Debtor’s actual cumulative

                  22                    disbursements exceeds the projected monthly disbursements in the Budget by

                  23                    more than 10% in any month.

                  24            I.      Except as provided otherwise in this Interim Order, upon the occurrence of an

                  25    Event of Default, the automatic stay provisions of Code § 362 are vacated and modified without

                  26    the need for further Court order to permit DIP Lender, and without any interference from the
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                    1   Debtor or any other party-in-interest but subject to five (5) days’ prior written notice (which may

                    2   be delivered by electronic mail) (the “Remedies Notice Period”), to the Debtor, its counsel,

                    3   counsel to any Committee, and counsel to the U.S. Trustee, to exercise all rights and remedies

                    4   provided for in the DIP Loan Documents, this Interim Order, or under other applicable

                    5   bankruptcy and non-bankruptcy law including, without limitation, the right to (i) terminate the

                    6   commitments under the DIP Loan; (ii) cease advancing funds under the DIP Loan and/or suspend

                    7   or terminate the commitments under the DIP Loan; (iii) declare all DIP Loan Indebtedness

                    8   immediately due and payable; (iv) take any actions reasonably calculated to preserve or safeguard

                    9   the DIP Collateral or to prepare the DIP Collateral for sale; (v) foreclose or otherwise enforce the

                  10    DIP Liens on any or all of the DIP Collateral; and (vi) exercise any other default-related rights

                  11    and remedies under the DIP Loan or this Interim Order. The automatic stay of Bankruptcy Code

                  12    § 362(a), to the extent applicable, shall be deemed terminated without the necessity of any further

                  13    action by the Court in the event that the Debtor, any Committee, and/or the U.S. Trustee have not

                  14    obtained an order from this Court to the contrary prior to the expiration of the Remedies Notice

                  15    Period. The Debtor, the Committee, if any, and/or the U.S. Trustee shall have the burden of proof

                  16    at any hearing on any request by them to re-impose or continue the automatic stay of Bankruptcy

                  17    Code § 362(a) or to obtain any other injunctive relief. Immediately following the occurrence of

                  18    an Event of Default, after the expiration of the Remedies Notice Period, the DIP Lender may

                  19    charge interest at the default rate set forth herein. No remedy herein conferred upon the DIP

                  20    Lender is intended to be exclusive of any other remedy and each and every such remedy shall be

                  21    cumulative and shall be in addition to every other remedy given hereunder or now or hereafter

                  22    existing at law or in equity or by statute or otherwise. To the extent permitted by applicable law,

                  23    the Debtor and the DIP Lender severally waive presentment for payment, demand, protest and

                  24    notice of dishonor. No course of dealing between the Debtor and the DIP Lender or any delay on

                  25    the part of the DIP Lender in exercising any rights hereunder shall operate as a waiver of any

                  26    right.
FENNEMORE CRAIG, P.C.   {00110975}                               13956982.1
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                    1           J.     Notwithstanding the applicability or potential applicability of Rule 6004(h),

                    2   because immediate and irreparable harm would result if this Order is not immediately effective,

                    3   the provisions of this Interim Order shall be effective immediately upon entry of this Interim

                    4   Order by the Court.

                    5           K.     This Interim Order shall be sufficient and conclusive evidence of the priority,

                    6   perfection, validity, and enforceability of all of the liens and security interests in and upon granted

                    7   to the DIP Lender under the DIP Loan Documents, as set forth herein and in the DIP Loan

                    8   Documents. The DIP Lender shall not be required to file any financing statement, mortgage,

                    9   deed of trust, assignments of rents, notice of lien, and/or any similar document or take any other

                  10    action (including possession of any of the Collateral) to validate the perfection of the DIP Liens.

                  11    If the DIP Lender shall, in its discretion, elect for any reason to file any such financing

                  12    statements, mortgages, deeds of trust, assignments of rent, and/or other documents with respect to

                  13    such security interests and liens, the Debtor is authorized and directed to execute, or cause to be

                  14    executed, all such financing statements, mortgages, deeds of trust, assignments of rents, and/or

                  15    other agreements, documents, or instruments upon the DIP Lender’s request and the filing,

                  16    recording, or service thereof (as the case may be) of such financing statements, or other

                  17    agreements, documents, or instruments shall be deemed to have been made at the time of and on

                  18    the Petition Date. The DIP Lender may, in its discretion, file a certified copy of this Interim

                  19    Order in any filing or recording office in any county or other jurisdiction in which the Debtor has

                  20    an interest in real or personal property and, in such event, the subject filing or recording officer is

                  21    authorized and directed to file or record such certified copy of this Interim Order.

                  22            L.     The automatic stay provisions of Code § 362 are hereby lifted and terminated as to

                  23    the DIP Lender to the extent necessary to implement the provisions of this Interim Order and the

                  24    DIP Loan Documents, thereby permitting the DIP Lender to receive collections of the DIP

                  25    Collateral for application to the DIP Obligations as provided herein, to file or record any UCC-1

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                    1   financing statements and other instruments and documents evidencing the DIP Liens, and to

                    2   enforce its security interests and liens upon default subject to the provisions of this Interim Order.

                    3           M.      The DIP Lender is extending credit on the terms set forth in the DIP Loan

                    4   Documents in good faith and after arms’ length negotiation; therefore, under Code § 364(e), if

                    5   any or all of the provisions of this Interim Order are hereafter modified, vacated, or stayed —

                    6                a. such stay, modification, or vacation shall not affect the validity of any obligation,

                    7                   indebtedness, liability, security interest, or lien granted or incurred by the Debtor

                    8                   to the DIP Lender prior to the effective date of such stay, modification, or

                    9                   vacation, or the validity, enforceability, or priority of any security interest, lien,

                  10                    priority, or right authorized or created under the original provisions of this Interim

                  11                    Order or pursuant to the DIP Loan Documents; and

                  12                 b. any indebtedness, obligation, or liability incurred by the Debtor to the DIP Lender

                  13                    under the DIP Loan Documents prior to the effective date of such stay,

                  14                    modification, or vacation shall be governed in all respects by the original

                  15                    provisions of this Interim Order, and the DIP Lender shall be entitled to all the

                  16                    rights, remedies, privileges, and benefits, including the DIP Liens and the super-

                  17                    priority claims granted herein and pursuant to the DIP Loan Documents, with

                  18                    respect to any such indebtedness, obligation, or liability. The DIP Loan is made in

                  19                    reliance upon this Interim Order, and, therefore, the indebtedness resulting from

                  20                    such DIP Loans prior to the effective date of any stay, modification, or vacation of

                  21                    this Interim Order cannot (i) be subordinated, (ii) lose the priority of the DIP Lien

                  22                    or the super-priority claims, or (iii) be deprived of the benefit of the status of the

                  23                    Security Interest, the super-priority claims, or any other liens or claims granted to

                  24                    the DIP Lender under this Interim Order or the DIP Loan Documents, as a result of

                  25                    any subsequent order in this Case or any subsequent case of the Debtor.

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FENNEMORE CRAIG, P.C.   {00110975}                                 13956982.1
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                    1           N.     Promptly after entry of this Order, the Debtor shall provide notice, together with a

                    2   copy of this Interim Order and a copy of the Motion, to all parties having been given notice of the

                    3   interim hearing, counsel to any official committee of unsecured creditors appointed in this case,

                    4   the Office of the United States Trustee, and all parties who have filed requests for notice under

                    5   Bankruptcy Rule 2002. Any party-in-interest objecting to the entry of a Final Order approving

                    6   the relief sought in the Motion shall file written objections with the Court no later than 4:00 p.m.

                    7   (MST) on or before June __, 2018, which objections shall be served so that the same are received

                    8   on or before such date and time by counsel for the Debtor, counsel for the DIP Lender, and the

                    9   Office of the United States Trustee.

                  10            O.     The Final Hearing will be held on _______ __, 2018, at __:___ __.m. in

                  11    Courtroom ___, U.S. Courthouse and Federal Building, 230 North 1st Avenue, Suite 101,

                  12    Phoenix, AZ 85003.

                  13
                  14                                    DATED AND SIGNED ABOVE

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FENNEMORE CRAIG, P.C.   {00110975}                               13956982.1
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             EXHIBIT
                1




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                              SECURED PROMISSORY NOTE
                                 (Interest-Only Payments)

$100,000.00                                                                Date: June __, 2018

        FOR VALUE RECEIVED, Tanga.com, LLC, a Delaware limited liability company
(“Maker”) promises to pay to ZR Ventures, LLC (“Holder”) a Delaware limited liability
company located at 1201 Orange St., Ste 600, Wilmington, DE 19801, or at such other address
as Holder may specify, the principal sum of One Hundred Thousand and No/100 Dollars
($100,000.00) (the “Loan”), together with interest on the unpaid principal balance at the rate of
twelve percent (12%) per annum pursuant to the terms of this Secured Promissory Note (the
“Note”), plus Holder’s attorney’s fees and costs incurred in documenting this loan transaction.
The Note shall be fully amortized over seven (7) months (“Term”), and any balance remaining
due under this Note shall be payable in full upon maturity. Interest only monthly payments shall
be in the amount of One Thousand and No/100 Dollars ($1,000.00) (“Interest Payments”), the
first of which shall be due on June ___, 2018 (“Initial Payment Date”). All future Interest
Payments shall be made monthly on the fifteenth (15th) calendar day of each month. All
payments shall be made in United States legal currency. Maker shall have the right at any time
or from time to time to pay all or a portion of the principal and accrued interest without premium
or penalty. Prepayments shall apply first to accrued interest and then to principal. Despite any
prepayments, Maker shall continue to pay the Interest Payments in accordance with the terms of
this Note.

        Holder and Maker, jointly and severally, understand and acknowledge the purpose of this
Note and the Security Agreement referred to herein and executed this same day is for Maker, a
debtor-in-possession in Case No. 2:18-bk-06314-BMW (the “Case”), to obtain post-petition
financing (i.e., a DIP Loan), which is subject to approval from the U.S. Bankruptcy Court for the
District of Arizona, and is to be used for the strict purpose of funding Maker’s post-petition
operations in accordance with the attached budget. Accordingly, the Loan shall be funded in two
installments. Holder shall fund 60% of the principal balance (or $60,000.00) within two business
days of entry of an interim order authorizing Maker to obtain the Loan as provided herein.
Holder shall fund the second installment of the remaining 40% of the principal balance (or
$40,000.00) upon entry of a final order authorizing Maker to obtain the Loan. Absent the U.S.
Bankruptcy Court approving Maker to obtain this Loan, Holder is under no obligation to fund the
Loan, and this Note, along with the Security Agreement, shall be null and void.

The occurrence or existence of any one or more of the following events or conditions, whether
voluntary or involuntary, constitute an event of default (“Event(s) of Default”): (a) Maker fails
to pay when due (whether due at stated maturity, upon acceleration, or as otherwise provided
herein) any installment of principal, over advance, or interest on the Loan, or any other amounts
otherwise owing under the Note; (b) Maker fails to pay any of its other obligations on the due
date thereof (whether due at stated maturity, upon acceleration, or as otherwise provided herein)
and such failure shall continue for a period of ten days after Holder’s giving Maker written
notice thereof; (c) Maker fails to perform, keep, or observe any covenant contained herein or the
Security Agreement and the breach is not cured within five days after Maker’s receipt of notice
of such breach from Holder; (d) any representation or warranty made by or on behalf of Maker,
or other information provided by or on behalf of Maker to Holder, was incorrect or misleading in
any material respect at the time it was made or provided; (e) this Note or the Security Agreement


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is terminated for any reason other than as provided for herein or the Security Agreement or
becomes void or unenforceable, or any security interest or lien granted hereby ceases to be a
valid and perfected first-priority security interest in or blanket lien on any portion of the
Collateral; (f) a trustee or examiner with expanded powers is appointed in the Case and the order
appointing such trustee, responsible officer, or examiner shall not have been stayed, reversed, or
vacated within thirty days after the entry thereof; (g) the dismissal of the Case, or the conversion
of the Case from one under chapter 11 to one under chapter 7 of the Bankruptcy Code; (h) the
entry of an Order by the Bankruptcy Court granting relief from or modifying the automatic stay
of Code § 362(a) with respect to any claim or property with a value exceeding $50,000; (i) an
order is entered by the Bankruptcy Court approving a sale of the Maker or any of the Collateral
(other than the sale of inventory in the ordinary course of business) on terms to which Lender has
not given its prior written consent, unless such motion provides for immediate repayment in cash
of all obligations and indebtedness under the DIP Loan Documents; and/or (j) without Holder’s
written consent, the Maker’s actual cumulative disbursements exceeds the projected monthly
disbursements in the Budget by more than 10% in any month.

       In the event Maker is unable to pay an Interest Payment in full (the “Payment
Deficiency”), at Holder’s option and sole discretion, the amount of the Payment Deficiency will
be added to the then-outstanding principal balance of the Loan, and the Loan shall be re-
amortized over the then-remaining amount of the Term.

        Should Maker default on any amount when due, and such default remains uncured and
continuing following the expiration of five (5) calendar days after written notice of said default is
provided, then the whole sum of principal plus interest shall become immediately due and
payable at Holder’s option, with interest from and after the date of such default at eighteen
percent (18%) per annum. Maker shall be responsible for all costs of collection, including
attorneys’ fees, court costs, and post-judgment collection costs. If Holder or Maker commences
any arbitration, lawsuit, or other legal proceeding with respect to the enforcement of the terms
and conditions hereof, the successful party in such proceeding shall be awarded, in addition to
any other remedy, its attorneys’ fees and court costs prosecuting or defending that proceeding as
well as all post judgment collection costs.

        In the event garnishment, attachment, levy, or execution is issued against any of the
property or assets of Maker, or upon the happening of any event that constitutes a default
pursuant to the terms of any agreement or other instrument given in connection with this Note, or
if the Maker shall make an assignment for the benefit of creditors, admit in writing the inability
to pay debts as they become due, or if a court of competent jurisdiction shall enter an order,
judgment, or decree appointing a receiver for the assets or affairs of Maker, or Maker fails to pay
the principal and any accrued interest in full on or before the due date, or a misrepresentation by
the Maker to Holder for the purpose of extending credit, or if Maker sells, transfers, assigns or in
any way disposes or attempts to dispose of any assets or collateral pledged as security for the
payment of this Note without making payment in full on this Note, this Note shall become
immediately due and payable without notice to Maker.

        Maker covenants and agrees that until full repayment of the indebtedness evidenced by
this Note: (a) Maker will not create, incur, assume, or suffer to exist any lien of any kind upon
any of its property, assets or collateral, whether now owned or hereafter acquired, except upon
express written permission of Holder; (b) Maker will notify Holder if Maker defaults in any
{00109696}                                   2

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material respect in the performance or fulfillment of any of the obligations, covenants, or
conditions contained in any agreement or instrument to which Maker is a party, or by which
Maker or any of its properties are bound within five (5) days of such default; and (c) Maker will
notify Holder if there shall be a material adverse change in Maker’s business or financial
conditions, operations, or properties within five (5) days of such change. Notice under this Note
shall be provided in accordance with the contemporaneously executed Security Agreement
between Maker and Holder.

        Failure of Holder to exercise any option hereunder shall not constitute a waiver of the
right to exercise the same in the event of any subsequent default or in the event of continuance of
any existing default after demand for strict performance.

        Maker agrees to be bound for all purposes with full recourse, and severally waive
demand, diligence, presentment for payment, protest and notice of demand, protest, nonpayment,
and exercise of any option hereunder. Maker further agrees that the granting without notice of
any extension or extensions of time for payment of any sum or sums due hereunder, or under any
security agreement or other instrument securing this Note, or for the performance of any
covenant, condition, or agreement hereof or thereof or the taking or release of other or additional
security shall in no way release or discharge the liability of Maker. Holders’ rights and remedies
under this Note are cumulative and all shall be available to Holder at all times until this Note has
been paid and performed in full. No delay or omission of Holder to exercise any right or power
under this Note shall impair such right or power or be construed to be a waiver of any default or
acquiescence therein, and any single or partial exercise of any such right or power shall not
preclude any other or further exercise thereof or the exercise of any other right or power and no
such waiver whatsoever shall be valid unless in writing signed by the Holder and then only to the
extent set forth in such writing.

       Maker agrees to execute and deliver such further documents, including the Security
Agreement executed the same date herewith, and to do such other acts and things as Holder may
reasonably request from time to time to further effect the purposes of this Note and the due
performance by Maker of its obligations hereunder.

       The obligations and rights under this Note shall be binding upon and inure to the benefit
of Maker and Holder and their respective permitted successors, endorsees, and assigns, except
that Maker shall not assign or transfer its obligations hereunder without the prior written consent
of Holder, which consent may be withheld or granted at Holder’s sole and absolute discretion.

        The invalidity or unenforceability of any of the provisions hereof shall not affect the
validity or enforceability of the remainder of the Note.

        This Note may not be modified in any way and shall be governed by, and construed and
interpreted in accordance with, the laws of the State of Arizona and the U.S. Bankruptcy Code
(11 U.S.C. §§ 101 et. seq.). Any action, suit, or proceeding shall be brought in the U.S.
Bankruptcy Court for the District of Arizona, and Maker hereby expressly consents to the
jurisdiction of such court.


                   MAKER:                          TANGA.COM, LLC,
{00109696}                                   3

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                                        a Delaware limited liability company


                                        By
                                             Jeremy Young, Manager




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                                  SECURITY AGREEMENT

        This AGREEMENT (“Agreement”) is entered into as of June ___, 2018 among
Tanga.com, LLC (“Borrower”) and ZR Ventures, LLC (“Lender”). Borrower and Lender are
referred to herein from time to time collectively as the “Parties” and individually as a “Party.”

                                           RECITALS

       On June 1, 2018, Borrower filed a voluntary petition for relief under the Bankruptcy
Code, commencing Bankruptcy Case No. 2:18-bk-06314-BMW (the “Case”). The Debtor
operates as a debtor in possession and needs financing to continue operations during the
pendency of the Case.

      Lender and Borrower entered into a Secured Promissory Note of even date herewith (the
“Note”), pursuant to which Lender has agreed to loan Borrower the amount of One Hundred
Thousand and No/100 ($100,000.00) (the “DIP Loan”).

        The purpose of this Agreement and the Note are for Borrower to obtain post-petition,
debtor-in-possession financing, subject to approval from the U.S. Bankruptcy Court for the
District of Arizona (“Bankruptcy Court”).

        Pursuant to the Note, the DIP Loan shall be funded in two installments. Lender shall
fund 60% of the principal balance (or $60,000.00) within two business days of entry of an
interim order authorizing Maker to obtain the Loan as provided herein. Lender shall fund the
second installment of the remaining 40% of the principal balance (or $40,000.00) promptly after
entry of a final order authorizing Maker to obtain the Loan.

       NOW THEREFORE, in consideration of the premises and to induce Lender to enter into
and perform under the Note, Borrower hereby agrees with Lender as follows:

                                         AGREEMENT

        SECTION 1. Borrower’s Grant of Security. Borrower hereby assigns and pledges to
Lender, and hereby grants to Lender, a first-position senior security interest in and blanket lien
(“DIP Lien(s)”) on all of Borrower’s property and assets (tangible, intangible, real, personal, and
mixed), whether in existence on or before the Petition Date or created, acquired, or arising on or
after the Petition Date and wherever located, including, without limitation, accounts, cash,
deposit accounts, inventory, equipment, investment property, instruments, chattel paper, real
estate, leasehold interests, contracts, patents, copyrights, trademarks, domain names, customer
lists, software, source code, websites, and all other assets related to or associated with e-
commerce, causes of action, insurance, general intangibles, and all products and proceeds
(including insurance proceeds) thereof (all such tangible, intangible, real and personal property,
and the proceeds thereof, being collectively referred to hereinafter as the “Collateral”). It is the
intent and understanding of the parties hereto that the coverage of the security interest granted
hereby be broadly and liberally construed to include all personal property of any nature.




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        SECTION 2. Security for Obligations. This Agreement secures the payments of all
obligations of Borrower now or hereafter existing under the Note, whether for principal, interest,
fees, legal fees and costs, expenses or otherwise, and all obligations of Borrower now or
hereafter existing under this Agreement (the “Obligations”).

       SECTION 3.        Borrower Remains Liable.        Notwithstanding anything herein to the
contrary:

       (a)      Borrower shall remain liable under the contracts and agreements included in the
Collateral to the extent set forth therein to perform all of its duties and obligations thereunder to
the same extent as if this Agreement had not been executed;

        (b)     Lender’s exercise of any of the rights hereunder shall not release Borrower from
any of its duties or obligations under the contracts and agreements included in the Collateral; and

        (c)    Lender shall have no obligation or liability under the contracts and agreements
included in the Collateral by reason of this Agreement, nor shall Lender be obligated to perform
any of the obligations or duties of Borrower thereunder or to take any action to collect or enforce
any claim for payment assigned hereunder.

       SECTION 4. Representations and Warranties of Borrower. Borrower represents and
warrants as follows:

        (a)   Most of the tangible personal property covered hereby is located at 2487 South
Gilbert Road, Suite 106-485, Chandler, AZ 85225 and 2414 South Gilbert Road, Chandler, AZ
85286, and other assets are located in the residences of those employees who work remotely;

       (b)      This Agreement creates a valid first-priority security interest in and lien on the
Collateral, securing the payment of the Obligations;

        (c)    This Agreement creates a super priority administrative expense claim under 11
U.S.C. §§ 364(c)(1) and (c)(2), which shall be deemed allowed without any further filing by
Lender, and which shall have priority over any and all administrative expenses of the kind
specified in 11 U.S.C. §§ 503(b) and 507(b).

       (d)     Borrower owns the Collateral free and clear of any lien, security interest, charge
or encumbrance. No effective financing statement or other similar instrument is on file in any
recording office covering the Collateral, except such as may have been or will be filed in favor of
Lender relating to this Agreement; and

       (e)      No authorization, approval or other action by, and no notice to or filing with, any
governmental authority or regulatory body not already undertaken is required either: (i) for the
grant by Borrower of the security interest granted hereby or for the execution, delivery or
performance of this Agreement by Borrower; or (ii) for the perfection of or the exercise by
Lender of its rights and remedies hereunder.




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        SECTION 5. Further Assurances.

        (a)      Borrower agrees that, from time to time, Borrower will promptly execute and
deliver all further instruments and documents and take all further action that may be necessary or
that Lender may reasonably request to perfect and protect any security interest granted or
purported to be granted hereby or to enable Lender to exercise and enforce its rights and
remedies hereunder with respect to any Collateral. Without limiting the generality of the
foregoing, Borrower will: (i) at the request of Lender, mark conspicuously each security,
contract, chattel paper included in Collateral, and each of its records pertaining to Collateral with
a legend, in form and substance satisfactory to Lender indicating that any of the foregoing is
subject to the security interest granted hereby; and (ii) execute and file such financing or
continuation statements, or amendments thereto and such other instruments or notices, or take
such further action, as may be necessary or as Lender may reasonably request, in order to perfect
and preserve the security interests granted or purported to be granted hereby;

       (b)    Borrower hereby authorizes Lender to file one or more financing statements, and
amendments thereto, relative to all or part of the Collateral without the signature of Borrower
where permitted by law; and

        (c)     Borrower will furnish to Lender from time to time statements and schedules
further identifying and describing the Collateral and such other reports in connection with the
Collateral as Lender may reasonably request, all in reasonable detail.

        SECTION 6. As to Equipment and Inventory. Borrower shall:

        (a)     Other than in the ordinary course of business, keep the Collateral at the places
specified in Section 4(a) or, upon 30 days’ prior written notice to Lender, at such other places in
jurisdictions where all action required by Section 5 shall have been taken with respect to the
Collateral; and

        (b)     Pay promptly when due all property and other taxes, assessments and
governmental charges or levies imposed upon, and all claims (including claims for labor,
materials and supplies) against the Collateral, except to the extent Borrower is contesting the
validity thereof in good faith, in which case Borrower shall notify Lender of such dispute and the
nature of such dispute.

        SECTION 7. Insurance. Borrower shall, at its own expense, maintain a complete
insurance package including against fire and such other hazards included within the term “all
risks” in such amounts, against such risks, in such form and with such insurers, as shall
reasonably be required from time to time by Lender for the benefit of Borrower and Lender as
their respective interests shall appear. Borrower assigns to Lender all rights to proceeds of any
insurance not exceeding the Obligations and directs any insurer to pay all proceeds directly to
Lender and authorizes Lender to endorse any draft for such proceeds. Each policy for liability
insurance shall provide for all losses to be paid on behalf of Lender and Borrower as their
respective interests may appear and shall provide that at least ten (10) days’ prior written notice
of cancellation, amendment, change of beneficiary or lapse shall be given to Lender by the
insurer. Borrower shall, if so requested by Lender, deliver to Lender original or duplicate

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policies of such insurance.

        SECTION 8. As to Receivables.

        (a)     Borrower shall keep its records concerning the Receivables at the locations
specified in Section 4(a) or, upon 30 days’ prior written notice to Lender, at such other locations
in a jurisdiction where all action required by Section 5 shall have been taken with respect to the
Receivables. Borrower will maintain and preserve such records on chattel paper and will permit
representatives of Lender at any time during normal business hours to inspect and make abstracts
from such records and chattel paper;

        (b)      Except as otherwise provided in this subsection (b), Borrower shall continue to
collect, at its own expense, all amounts due or to become due to Borrower under the Receivables.
In connection with such collections, Borrower may take (and, at Lender’s direction, if an event
of default shall occur, shall take) such action as Borrower or Lender may deem necessary or
advisable to enforce collection of the Receivables; provided, however, that upon the occurrence
of an event of default under this Agreement or the Note, Lender shall have the right to notify the
account debtors or obligors under any Receivables of the assignment of such Receivables to
Lender and to direct such account debtors or obligors to make payment of all amounts due or to
become due to Borrower thereunder directly to Lender and, upon such notification and at the
expense of Borrower, to enforce collection of any such Receivables and to adjust, settle, or
compromise the amount or payment thereof, in the same manner and to the same extent as
Borrower might have done. After receipt by Borrower of the notice from Lender referred to in
the proviso to the preceding sentence;

               (i)    all amounts and proceeds (including instruments) received by Borrower in
respect of the Receivables shall be received in trust for the benefit of Lender hereunder, shall be
segregated from other funds of Borrower and shall be forthwith paid over to Lender; and

                (ii)   Borrower shall not adjust, settle, or compromise the amount or payment of
any of the Receivables, or release wholly or partly an account debtor or obligor thereof, or allow
any credit or discount thereon, without written approval from Lender.

        SECTION 9. Transfers and Other Liens. Borrower shall not:

       (a)     Sell, assign (by operation of law or otherwise) or otherwise dispose of any of
Collateral, except in the ordinary course of business pursuant to Fed. R. Bankr. P. 6004 without
approval from the Bankruptcy Court or without written consent of the Lender; and in the event
the Bankruptcy Court approves a sale not in Borrower’s ordinary course of business, Lender may
credit bid for the then-balance of the DIP Loan. Should the resulting sale price exceed the
balance of the DIP Loan, the Collateral shall be sold free and clear of the security interest created
hereby, with said security interest attaching to the sale proceeds upon closing of the sale
transaction;

        (b)     Create or suffer to exist any lien, security interest, or other charge or encumbrance
upon or with respect to any of Collateral to secure debt of any person or entity, except for the
security interest created by this Agreement; and

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       (c)     Under no circumstances shall Borrower sell, assign, or otherwise dispose of any
Collateral that consists of investment securities, stock, or membership interests owned by
Borrower.

       SECTION 10. Lender Appointed Attorney-in-Fact. Borrower hereby irrevocably
appoints Lender as Borrower’s attorney-in-fact, with full authority in the place and stead of
Borrower and in the name of Borrower or otherwise, from time to time in Lender’s discretion,
upon the occurrence of an Event of Default, to accomplish the purposes of this Agreement,
including without limitation:

        (a)       To obtain and adjust insurance required to be paid to Lender pursuant to Section
7;

        (b)   To ask, demand, collect, sue for, recover, compound, receive, and give
acquittance and receipts for monies due and to become due under or in respect of any of the
Collateral;

        (c)     To receive, enforce, and collect any drafts or other instruments, documents, and
chattel paper, in connection with clause (a) or (b) above; and

       (d)     To file any claims or take any action or institute any proceedings which Lender
may deem necessary or desirable for the collection of any of the Collateral or otherwise to
enforce the rights of Lender with respect to any of the Collateral.

       SECTION 11. Lender May Perform. If Borrower fails to perform any agreement
contained herein, upon the occurrence of an event of default under the Note, Lender may cure
such event of default, and the expenses of Lender incurred in connection therewith shall be
payable by Borrower under Section 14(b).

        SECTION 12. Lender’s Duties. The powers conferred on Lender hereunder are solely
to protect its interest in the Collateral and shall not impose any duty upon it to exercise any such
powers. Except for the safe custody of any Collateral in its possession and the accounting for
monies actually received by it hereunder, Lender shall have no duty as to any Collateral or as to
the taking of any necessary steps to preserve rights against prior parties or any other rights
pertaining to any Collateral.

        SECTION 13. Events of Default. The occurrence or existence of any one or more of
the following events or conditions, whether voluntary or involuntary, constitute an event of
default (“Event(s) of Default”):

               a. Borrower fails to pay when due (whether due at stated maturity, upon
                  acceleration, or as otherwise provided herein) any installment of principal, over
                  advance, or interest on, or any other amounts otherwise owing under the Note;

               b. Borrower fails to pay any of its other obligations on the due date thereof (whether
                  due at stated maturity, upon acceleration, or as otherwise provided herein) and

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                  such failure shall continue for a period of ten days after Lender’s giving Borrower
                  written notice thereof;

               c. Borrower fails to perform, keep, or observe any covenant contained in any DIP
                  Loan Documents and the breach is not cured within ten days after Borrower’s
                  receipt of notice of such breach from Lender;

               d. any representation or warranty made by or on behalf of Borrower, or other
                  information provided by or on behalf of Borrower to Lender, was incorrect or
                  misleading in any material respect at the time it was made or provided;

               e. the Note or this Agreement is terminated for any reason other than as provided for
                  in the Note or this Agreement or becomes void or unenforceable, or any security
                  interest or lien granted hereby ceases to be a valid and perfected first-priority
                  security interest in or blanket lien on any portion of the Collateral;

               f. a trustee or examiner with expanded powers is appointed in the Case and the order
                  appointing such trustee, responsible officer, or examiner shall not have been
                  stayed, reversed, or vacated within thirty days after the entry thereof;

               g. the dismissal of the Case, or the conversion of the Case from one under chapter 11
                  to one under chapter 7 of the Bankruptcy Code;

               h. the entry of an Order by the Bankruptcy Court granting relief from or modifying
                  the automatic stay of Code § 362(a) with respect to any claim or property with a
                  value exceeding $50,000;

               i. an order is entered by the Bankruptcy Court approving a sale of the Borrower or
                  any of the Collateral (other than the sale of inventory in the ordinary course of
                  business) on terms to which Lender has not given its prior written consent, unless
                  such motion provides for immediate repayment in cash of all obligations and
                  indebtedness under the DIP Loan Documents; and/or

               j. without Lender’s written consent, the Borrower’s actual cumulative
                  disbursements exceeds the projected monthly disbursements in the Budget by
                  more than 10% in any month.

        SECTION 14. Remedies. Upon the occurrence of an Event of Default, subject to five
(5) days’ prior written notice (which may be delivered by electronic mail) (the “Remedies Notice
Period”) to the Borrower and its counsel, the Lender may, without any interference from the
Borrower, exercise all rights and remedies provided for in the Note and this Agreement, or under
other applicable law including, without limitation, the right to:

               a. terminate the commitments under the DIP Loan;

               b. cease advancing funds under the DIP Loan and/or suspend or terminate the
                  commitments under the DIP Loan;

               c. declare all Obligations immediately due and payable;

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               d. take any actions reasonably calculated to preserve or safeguard the Collateral or to
                  prepare the Collateral for sale;

               e. foreclose or otherwise enforce the DIP Lien on any or all of the Collateral; and

               f. exercise any other default-related rights and remedies under the DIP Loan or this
                  Interim Order.

               g. Immediately following the occurrence of an Event of Default, after the expiration
                  of the Remedies Notice Period, the Lender may charge interest at the default rate
                  set forth herein. No remedy herein conferred upon the Lender is intended to be
                  exclusive of any other remedy and each and every such remedy shall be
                  cumulative and shall be in addition to every other remedy given hereunder or now
                  or hereafter existing at law or in equity or by statute or otherwise. To the extent
                  permitted by applicable law, the Debtor and the Lender severally waive
                  presentment for payment, demand, protest and notice of dishonor. No course of
                  dealing between the Debtor and the Lender or any delay on the part of the Lender
                  in exercising any rights hereunder shall operate as a waiver of any right.

       SECTION 15. Expenses. Upon the occurrence of an event of default under the Note,
Borrower will, upon demand, pay to Lender the amount of any and all reasonable expenses,
including the reasonable fees and disbursements of its counsel and of any experts and agents,
which Lender may incur in connection with:

        (a)     the custody, preservation, use or operation of, or the sale of, collection from, or
other realization upon, any of the Collateral;

        (b)     the exercise or enforcement of any of the rights of Lender hereunder, unless they
be with respect to litigation or arbitration in which case the prevailing party in any such action
shall be entitled to be paid its reasonable attorneys’ fees, expenses, and costs of litigation; or

        (c)       the failure by Borrower to perform or observe any of the provisions hereof.

       SECTION 16. Security Interest Absolute. All rights of Lender and security interests
hereunder, and all Obligations hereunder, shall be absolute and unconditional, irrespective of:

       (a)     Any lack of validity or enforceability of the Note, or any other agreement or
instrument relating thereto;

        (b)   Any change in the time, manner or place of payment of, or in any other term of,
all or any of the Obligations or any other amendment or waiver of or any consent to any
departure from the Note;

       (c)     Any exchange, release or non-perfection of any other collateral, for all or any of
the Obligations; or

       (d)    Any other circumstances which might otherwise constitute a defense available to,
or a discharge of, Borrower with respect to the Obligations of Borrower in respect of this

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Agreement.

        SECTION 17. Amendments/Waiver. No amendment or waiver of any provision of this
Agreement nor consent to any departure by Borrower herefrom, shall in any event be effective
unless the same shall be in writing and signed by Lender, and then such waiver or consent shall
be effective only in the specific instance and for the specific purpose for which given.

         SECTION 18. Notices. All notices, requests, demands, and other communications
(each, a “Notice”) required to be provided to the other Party pursuant to this Agreement shall be
in writing and shall be delivered: (a) in person, (b) by certified U.S. Mail, with postage prepaid
and return receipt requested, (c) by overnight courier service, or (d) by facsimile transmittal, with
a verification copy sent on the same day by any of the methods set forth in clauses (a), (b), and
(c), to the other Party to this Agreement at the following address or facsimile number:

        If to Lender:                         ZR Ventures, LLC
                                              1201 Orange Ste., Ste 600
                                              Wilmington, DE 19801

        With a copy to:                       Hilary L. Barnes, Esq.
                                              ALLEN BARNES & JONES, PLC
                                              1850 N Central Ave., Suite 1150
                                              Phoenix, AZ 85004

        If to Borrower:                       Tanga.com, LLC
                                              Attn: Jeremy Young
                                              2487 South Gilbert Road
                                              Suite 106-485
                                              Chandler, AZ 85225

        With a copy to:                       Anthony W. Austin, Esq.
                                              FENNEMORE CRAIG, P.C.
                                              2394 East Camelback Road
                                              Suite 600
                                              Phoenix, AZ 85016

        SECTION 19. Continuing Security Interest; Transfer of Note. This Agreement shall
create a continuing security interest in the Collateral and shall:

        (a)    Remain in full force and effect until payment in full of the Obligations;

        (b)    Be binding upon Borrower, its successors and assigns; and

        (c)    Inure to the benefit of Lender and its successors, transferees, and assigns.

       Without limiting the generality of the foregoing clause (c), Lender may assign or
otherwise transfer the Note (or any interest thereunder) to any other person or entity, and such
other persons or entity shall thereupon become vested with all the benefits in respect thereof

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granted to Lender herein or otherwise. Upon the payment in full of the Obligations, the security
interest granted hereby shall terminate and all rights to the Collateral shall revert to Borrower.
Upon any such termination, Lender will execute and file all necessary termination statements to
release all liens in the Collateral.

       SECTION 20. Governing Law; Terms. This Agreement shall be governed by and
construed in accordance with the laws of the State of Arizona and the U.S. Bankruptcy Code (11
U.S.C. §§ 101 et. seq.). Unless otherwise defined herein or in the Note, terms used in Article 9
of the Code in the State of Arizona are used herein as therein defined. All terms defined in the
Note and not otherwise defined herein shall have the same meaning herein as used in the Note.

       IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
and delivered by its officer duly authorized as of the date first above written.


BORROWER:                                         LENDER:

Tanga.com, LLC,                                   ZR Ventures, LLC,
a Delaware limited liability company              a Delaware limited liability company



Jeremy Young, Manager                             Hilary L. Barnes, Esq., as attorney for ZR
                                                  Ventures, LLC




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             EXHIBIT
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13 Week Cash Flow Budget
Tanga.com, LLC
                                                                            Week 1               Week 2            Week 3              Week 4               Week 5              Week 6             Week 7              Week 8               Week 9            Week 10             Week 11            Week 12             Week 13             TOTAL                   Daily Average
                                         Updated on: 6/14/2018             6/1/2018             6/8/2018          6/15/2018           6/22/2018           6/29/2018            7/6/2018           7/13/2018           7/20/2018           7/27/2018           8/3/2018           8/10/2018          8/17/2018           8/24/2018
                                  Week 1 Ending Date: 6/7/2018             6/7/2018            6/14/2018          6/21/2018           6/28/2018            7/5/2018           7/12/2018           7/19/2018           7/26/2018            8/2/2018           8/9/2018           8/16/2018          8/23/2018           8/30/2018

  Beginning Cash Balance                                               $   121,510.93      $    111,144.95    $    212,577.97     $    173,751.70     $    179,290.55     $    118,836.71     $    126,640.51     $    104,129.33     $    107,533.09     $   137,396.83     $     84,398.90    $     88,850.96     $     61,233.35     $     121,510.93

  Income
      Deposits (Will need to reconcile to Revenue Type)                                                                                                                                                                                                                                                                                              -
      Chargebacks                                                                                                                                                                                                                                                                                                                                    -
      Product Revenue (Organic - Tanga Deals)                              105,000.00           105,000.00         105,000.00          110,250.00          110,250.00          110,250.00          110,250.00          121,275.00          121,275.00         121,275.00          121,275.00         121,275.00          121,275.00         1,483,650.00                16,303.85
      Product Revenue (Affiliate - Old Model)                               36,750.00            36,750.00          36,750.00           38,587.50           38,587.50           38,587.50           38,587.50           42,446.25           42,446.25          42,446.25           42,446.25          42,446.25           42,446.25           519,277.50                 5,706.35
      Ad Revenue                                                             7,000.00                  -                  -                   -              5,000.00                 -                   -                   -              5,000.00                -                   -                  -                   -              17,000.00                   186.81
      Asset Sale & Other Revenue                                            30,000.00                  -                  -                   -                   -                   -                   -                   -                   -                  -                   -                  -                   -              30,000.00                   329.67
  Total Income                                                             178,750.00           141,750.00         141,750.00          148,837.50          153,837.50          148,837.50          148,837.50          163,721.25          168,721.25         163,721.25          163,721.25         163,721.25          163,721.25         2,049,927.50                22,526.68
                                                                                                                                                                                                                                                                                                                                                                               -
  Cost of Goods Sold                                                                                                                                                                                                                                                                                                                                                           -
       Vendor Payments Made (Will need to reconcile to Product Type)               -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                     -                        -
       Product Cost Organic (75%)                                           (78,750.00)         (78,750.00)        (78,750.00)         (82,687.50)         (82,687.50)         (82,687.50)         (82,687.50)         (90,956.25)         (90,956.25)         (90,956.25)        (90,956.25)        (90,956.25)         (90,956.25)        (1,112,737.50)             (12,227.88)
       Product Cost Organic (5%)                                             (3,937.50)          (3,937.50)         (3,937.50)          (4,134.38)          (4,134.38)          (4,134.38)          (4,134.38)          (4,547.81)          (4,547.81)          (4,547.81)         (4,547.81)         (4,547.81)          (4,547.81)           (55,636.88)                (611.39)
       Product Cost - Old Affiliate (75%)                                   (27,562.50)         (27,562.50)        (27,562.50)         (28,940.63)         (28,940.63)         (28,940.63)         (28,940.63)         (31,834.69)         (31,834.69)         (31,834.69)        (31,834.69)        (31,834.69)         (31,834.69)          (389,458.13)              (4,279.76)
       Product Cost - Old Affiliate (5%)                                     (1,378.13)          (1,378.13)         (1,378.13)          (1,447.03)          (1,447.03)          (1,447.03)          (1,447.03)          (1,591.73)          (1,591.73)          (1,591.73)         (1,591.73)         (1,591.73)          (1,591.73)           (19,472.91)                (213.99)
       Affiliate Commissions - Old Affiliate (6%)                           (21,000.00)          (1,000.00)         (1,000.00)          (1,000.00)         (12,245.50)          (1,000.00)          (1,000.00)          (1,000.00)          (1,000.00)         (13,270.83)         (1,000.00)         (1,000.00)          (1,000.00)           (56,516.33)                (621.06)
       Merchant Fees (3%)                                                                       (20,000.00)                                                                    (17,647.88)                                                                                        (24,111.68)                                                  (61,759.55)                (678.68)
       Returns (Shipping, etc)                                              (11,788.50)         (11,788.50)        (11,788.50)         (12,227.93)         (12,227.93)         (12,227.93)         (12,227.93)         (13,150.72)         (13,150.72)         (13,150.72)        (13,150.72)        (13,150.72)         (13,150.72)          (163,181.51)              (1,793.20)
       Returns Credits (Recapture Rate 80%)                                   9,430.80            9,430.80           9,430.80            9,782.34            9,782.34            9,782.34            9,782.34           10,520.57           10,520.57           10,520.57          10,520.57          10,520.57           10,520.57            130,545.20                1,434.56
       Marketplace Fee Expense (ESG $1500 & Channel Advisor $4K)             (5,500.00)                                                 (5,500.00)                                                                      (5,500.00)                                                                                        (5,500.00)           (22,000.00)                (241.76)
  Total Cost of Goods Sold                                                 (140,485.83)        (134,985.83)       (114,985.83)        (126,155.12)        (131,900.62)        (138,302.99)        (120,655.12)        (138,060.63)        (132,560.63)        (144,831.45)       (156,672.30)       (132,560.63)        (138,060.63)        (1,750,217.58)             (19,233.16)
                                                                                                                                                                                                                                                                                                                                                                               -
  Gross Profit                                                                                                                                                                                                                                                                                                                                                                 -
      Product Cost (Organic)                                                 26,250.00           26,250.00          26,250.00           27,562.50           27,562.50           27,562.50           27,562.50           30,318.75           30,318.75          30,318.75           30,318.75          30,318.75           30,318.75           370,912.50     25.0%       4,075.96
      Product (Affiliate)                                                   (11,812.50)           8,187.50            8,187.50            8,646.88           (2,598.63)           8,646.88            8,646.88            9,611.56            9,611.56          (2,659.26)          9,611.56            9,611.56            9,611.56           73,303.05     14.1%         805.53
      5% Premium                                                              (5,315.63)         (5,315.63)          (5,315.63)          (5,581.41)          (5,581.41)          (5,581.41)          (5,581.41)          (6,139.55)          (6,139.55)         (6,139.55)         (6,139.55)          (6,139.55)          (6,139.55)         (75,109.78)                 (825.38)
      Other                                                                  29,142.30          (22,357.70)          (2,357.70)          (7,945.59)           2,554.42         (20,093.46)           (2,445.59)          (8,130.14)           2,369.86          (2,630.14)        (26,741.82)          (2,630.14)          (8,130.14)         (69,395.85)                 (762.59)
  Total Gross Profit                                                         38,264.18            6,764.18          26,764.18           22,682.38           21,936.88           10,534.51           28,182.38           25,660.62           36,160.62          18,889.80            7,048.95          31,160.62           25,660.62           299,709.92     14.6%       3,293.52
                                                                                                                                                                                                                                                                                                                                                                               -
  Operational Expenses- Enter as a (-)                                                                                                                                                                                                                                                                                                                                         -
    Labor Expenses                                                                                                                                                                                                                                                                                                                                                             -
      Payroll + Fee's & Benefits & Taxes                                       (500.00)            (500.00)        (60,074.29)            (635.00)         (48,307.01)            (500.00)         (47,646.85)            (635.00)            (705.00)         (48,146.85)           (500.00)        (42,723.88)            (840.00)         (251,713.87)               (2,766.09)
      Other - Labor                                                                -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                    -                         -
    Subtotal Labor Expenses                                                    (500.00)            (500.00)        (60,074.29)            (635.00)         (48,307.01)            (500.00)         (47,646.85)            (635.00)            (705.00)         (48,146.85)           (500.00)        (42,723.88)            (840.00)         (251,713.87)             (502,427.75)
                                                                                                                                                                                                                                                                                                                                                                               -
     Corporate Expenses                                                                                                                                                                                                                                                                                                                                                        -
      Travel                                                                       -                   -                  -                   -                   -                   -               (250.00)                -                   -                   -            (1,250.00)         (1,250.00)          (1,250.00)           (4,000.00)                   (43.96)
      E-Mail Marketing Platform                                             (17,000.00)                -                  -                   -            (17,000.00)                -                   -                   -                   -            (17,000.00)               -                  -                   -             (51,000.00)                 (560.44)
      Affiliate Marketing Tracking Platform Hosting                          (2,000.00)                                                                     (2,000.00)                                                                                          (2,000.00)                                                                     (6,000.00)                   (65.93)
      Affiliate Tools Hosting                                                  (850.00)                                                                       (850.00)                                                                                            (850.00)                                                                     (2,550.00)                   (28.02)
      VoIP Phone Service                                                       (150.00)                                                                       (150.00)                                                                                            (150.00)                                                                       (450.00)                    (4.95)
      Advertising/Marketing                                                  (1,373.00)          (2,500.00)         (3,000.00)          (1,000.00)          (5,721.00)          (2,500.00)          (3,000.00)          (1,000.00)          (5,348.00)          (2,873.00)         (3,000.00)         (1,000.00)          (5,348.00)          (37,663.00)                 (413.88)
      Credit Card Payments                                                         -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                    -                         -
      Sales Tax Collected                                                     4,108.85            3,898.85           3,898.85            4,098.29            4,248.29            4,098.29            4,098.29            4,517.12            4,667.12            4,517.12           4,517.12           4,517.12            4,517.12            55,702.38                   612.11
      Sales Tax Remitted                                                    (16,070.00)                -                  -            (16,004.82)                -                   -                   -            (16,961.98)                -                   -                  -           (18,218.46)                -             (67,255.26)                 (739.07)
      Rent                                                                         -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                    -                         -
      Sublease Income                                                              -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                    -                         -
      Software                                                               (9,326.00)            (705.00)         (1,215.00)            (352.00)          (7,715.00)            (804.00)          (1,195.00)            (352.00)             (15.00)          (5,385.00)         (1,614.00)           (103.00)            (264.00)          (29,045.00)                 (319.18)
      Bank Fee                                                                     -               (500.00)               -                   -                   -               (500.00)                -                   -                   -                   -              (500.00)               -                   -              (1,500.00)                   (16.48)
      Administrative Expenses                                                  (470.00)             (25.00)           (200.00)            (750.00)            (470.00)             (25.00)            (200.00)            (450.00)            (470.00)                -              (250.00)               -               (650.00)           (3,960.00)                   (43.52)
      GL Insurance - State Farm                                                    -                   -                  -                   -             (1,926.00)                -                   -                   -             (1,926.00)                -                  -                  -             (1,926.00)           (5,778.00)                   (63.49)
     Subtotal Corporate Expenses                                            (43,130.16)             168.85            (516.16)         (14,008.54)         (31,583.71)             269.29             (546.71)         (14,246.86)          (3,091.88)         (23,740.88)         (2,096.88)        (16,054.35)          (4,920.88)         (153,498.88)               (1,686.80)
                                                                                                                                                                                                                                                                                                                                                                               -
  Total Operational Expenses                                                (43,630.16)            (331.16)        (60,590.44)         (14,643.54)         (79,890.72)            (230.71)         (48,193.56)         (14,881.86)          (3,796.88)         (71,887.73)         (2,596.88)        (58,778.23)          (5,760.88)         (405,212.76)               (4,452.89)
                                                                                                                                                                                                                                                                                                                                                                               -
  Total Operating Net Income                                                 (5,365.98)           6,433.02         (33,826.27)           8,038.85          (57,953.84)          10,303.80          (20,011.18)          10,778.76           32,363.74          (52,997.93)          4,452.06         (27,617.61)          19,899.74          (105,502.84)    -5.1%      (1,159.37)
                                                                                                                                                                                                                                                                                                                                                                               -
  Chapter 11 - Professional Fees & Costs                                                                                                                                                                                                                                                                                                                                       -
     Investment Banking                                                      (5,000.00)          (5,000.00)         (5,000.00)          (2,500.00)          (2,500.00)          (2,500.00)          (2,500.00)          (2,500.00)          (2,500.00)                -                  -                  -                   -             (30,000.00)                 (329.67)
     Fennemore Craig                                                               -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                     -                        -
     Mac Restructuring                                                             -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                     -                        -
     Committee Counsel (if applicable)                                             -                   -                  -                   -                   -                   -                   -                   -                   -                   -                  -                  -                   -                     -                        -
     U.S. Trustee Fee                                                              -                   -                  -                   -                   -                   -                   -             (4,875.00)                -                   -                  -                  -                   -               (4,875.00)                  (53.57)
  Total Chapter 11 - Professional Fees & Costs                               (5,000.00)          (5,000.00)         (5,000.00)          (2,500.00)          (2,500.00)          (2,500.00)          (2,500.00)          (7,375.00)          (2,500.00)                -                  -                  -                   -             (34,875.00)                 (383.24)
                                                                                                                                                                                                                                                                                                                                                                               -
  DIP LOAN                                                                                      100,000.00                                                                                                                                                                                                                                    100,000.00                 1,098.90
                                                                                                                                                                                                                                                                                                                                                                              -
  Ending Cash Balance                                                  $   111,144.95      $    212,577.97    $    173,751.70     $    179,290.55     $    118,836.71     $    126,640.51     $    104,129.33     $    107,533.09     $    137,396.83     $    84,398.90     $     88,850.96    $     61,233.35     $     81,133.09     $      81,133.09                   891.57

                                                                                                                                                                                                                                                                                                                                                                        17,846.46 Min Sales at 25%




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in Sales at 25%




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